                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
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 5          ATTORNEYS FOR      Defendant, Evelyn Brigget Sanchez
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 8                                    UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10                                                     *****
11   UNITED STATES OF AMERICA,                   )         CASE NO: 1:10-CR-00249 AWI-DLB
                                                 )
12          Plaintiff,                           )         RULE 43 WAIVER OF PERSONAL
                                                 )         APPEARANCE
13   v.                                          )
                                                 )
14   EVELYN BRIGGET SANCHEZ,                     )         Date: October 22, 2012
                                                 )         Time: 1:00 p.m.
15          Defendant.                           )         HON. DENNIS L. BECK
                                                 )         Dept. 9
16

17                  Defendant, Evelyn Sanchez is charged with several felony offenses in this proceeding.

18   Pursuant to Federal Rules of Criminal Procedure Rule 43(b)(3) Defendant consents to appearance

19   through counsel, Harry M. Drandell, without Defendant’s presence, at the upcoming status hearing

20   and any pre-trial status or motions not involving an evidentiary hearing. Defendant requests that the
21   Court allow her to appear through counsel of record at such proceedings.

22   Dated: October 17, 2012                               LAW OFFICES OF HARRY M. DRANDELL

23
                                                           /s/ Harry M. Drandell
24
                                                           HARRY M. DRANDELL
25                                                         Attorney for Defendant,
                                                           EVELYN BRIGGET SANCHEZ
26

27   Dated: October 17, 2012                               /s/ Evelyn Sanchez
                                                           ________________________________
28                                                         EVELYN SANCHEZ, Defendant
     Case 1:10-cr-00249-JLT-BAM Document 134 Filed 10/17/12 Page 2 of 2


 1        IT IS SO ORDERED.

 2       Dated:   October 17, 2012                  /s/ Dennis L. Beck
     3b142a                                 UNITED STATES MAGISTRATE JUDGE
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